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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF GEORGIA
                                AUGUSTA DIVISIONS




IN RE:                              Case Nos. CR120-026, USA v. Howard
                                              CR121-013, USAv. Dinh
LEAVE OF ABSENCE REQUEST                      CR122-090, USA V. Fields, et al
                                                CR122-114, USAv. Wright, et al
                                                CR123-024, USA V. Henderson
PATRICIA G. RHODES                              CR123-025, USAv. Wilson




                ORDER ON MOTION FOR LEAVE OF ABSENCE

      Patricia G. Rhodes having made application to the Court for a leave of

absence, and it being evident from the application that the provisions of Local Rule 83.9

have been complied with, and no objections having been received;

      IT IS HEREBY ORDERED THAT Patricia G. Rhodes be granted leave of

absence for the following period: August 28,2023 through September 1, 2023.

      SO ORDERED,this ^'^av of July, 2023.


                                                                    JUDGE
                                         UNTI      TATES DISTRICT COURT
                                                  RN DISTRICT OF GEORGIA
